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AO '18 (Re, I~ n I) ApJ)l!arancc Bond



                                                  UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Wcstcm District of Tennessee
                     United States of America                                   )
                                           v.                                   )
                          JOSEPH B. KYLES                                       )        Case No. 2·20mj097-1 cgc
                                                                                )
                                   D,fc11dw11                                   }

                                                                APPEARANCE BOND

                                                                Defendant's Agreement
I.                     JOSEPH B. KYLES                          ((l<frnd,111r). agree to follow every order of this cou11. or any
court that considers this case. and I fu11her agree that this bond may he forfeited if I fail:
             ( X )       to appear for court proceedings:
             ( X )        if convicted, to surrender to serve a sentence that the court may impose: or
             ( X )       to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                       Type of Bond
      ) (I) This is n personal recognizance bond.

( X ) (2) This is an unsecured bond of$ 1,000.00

      ) (3) Thi,isasccurcdbondof$                                                              . secured by:

                ) (a) $                                     . in cash deposited with the court.

                ) ( b) the agreement of the defendant and each surety to rorfeit the folio\\ ing cash or other proper!)
                  (desail>I! the cash or Olh,•r prnp,•n,r. im /11di11t,? claim, ,111 it - .mc/1 ,rs II lt,·11. 11wr1gage, m loan -mu/ auad, pmo(of
                   OH'll<'J'.,·hif) Ulld   l'OIJ1,;:J:




                   If this bond is secured by real prope11y. documents to protect the secured interest m11~ be tiled of record.

                   ( c)   a bai I bond with a sol vent surety f<111<1ch " mpy of 1he bail bo11d. or describe it a11d id<"111if,- '"" .,111v11');




                                                         Forfeiture or Release of the Bond

Forfeiture <!I the Bond. This appearance bond may be forti!ited if the defendant does not comply\\ ith the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond. if the defendant doc~ not comply with the agreement. At the request of the United States, the com1
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond. including
interest and costs.
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Release ,~/'Iii<! Bond. The court may order this appearance bond ended at any time. This bond\\ ill be satisfied and the
security will be released when either: (I) the defendant is found not guilty on all charges. or (2) the defendant reports to
serve a sentence.

                                                                            Declarations

01rn<.'rship r?f'the Proper(\'. I. the defendant - and each surety                   declare under penalty of pe1jury that:
            (I)          all owners of the property securing this appearance bond are included on the bond;
            (2)          the property is not subject to claims. except as described above; and
            (3)          I will not sell the property, allow further claims to be made against it, or do anything to reduce its value                          l
                         while this appearance bond is in effect.
Acc:eptanc.:e. I. the defendant - and each surety - have read this appearance bond and have either read all the conditions
                                                                                                                                                               i
of releusc- set by the court or had them explained to me. I agree to this Appearance Hond.

                                                                                                                                                               Il
                                                                                                                                                               '




                                                                                           v~. . ,. ,
I. the defendant          nnd each suret} - declnre under penal!) of perjury that this infbrmation is true.                                                    t
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                                                                                                                                     5
                                                                                                                                                               t
Date;        08/26/2020
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                    S111w,r,pn>/1<'1"11· mmer         /11'/lllc'd m1111c                      S111·ewpm1Jt.:rt,r 011.,,..,,.     sigm1trrH· and d111e




                                                                                  CLERK OF COURT


l>ah::       08/26/2020                                                                                        s/Chris Sowell
                                                                                                   Stgllaltll"l' of ('/c:rJ. or Dt:p111,r ('led,


Approved.

Date:        08/26/2020                                                                               s/Charmiane G. Claxton
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           Case 2:20-mj-00097-cgc Document 4 Filed 08/26/20 Page 3 of 5                                          PageID 18
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                                  UNITED STATES DISTRICT COURT
                                                             for the
                                              Wcstcm District of Tennessee
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                United States of America
                             V.
                                                                                                                                     I.
                    JOSEPH B. KYLES
                                                                             Case No. 2:20mj097-1 cgc

                         D<•/c11dm11

                                  ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject tu these conditions:

(I)   The ddendant must not violate federal. state, or local la\\ while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.('. § 14135a.

(3)   The defendant must advise the corn1 or the pretrial   '>CJ'\   ice-; office or supt!rvising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and. i r convicted. must surrender as directed to serve a sentence that
      the colll1 ma) impose.

      The defendant must appear at:      U.S. Courthouse. 501 E. Court Street. Jackson, MS in Courtroom 5D for


      Arraignment

      on                                                    9/10/2020 9:00 am
                                                                 Datt· ancl Time!

      lfblank. defendant will he notified of next appearance.

(5)   lhe defendant must sign an Appearance Bond, if ordered.
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AO 1911B (Re" 12 l ll 1\dd111011JI Con<l1t1<>1lSofRclc.i.<.:                                                                                        Page       nf

                                                          ADDITIONAL CONDITIONS OF RELEASE
         IT IS FUR rt IER ! lRDLRIJ> lhJt the d.:fcnd.1111·s rdca~e is :mhjcct 10 the nmdition~ marked he low:

          ( 6)    The lldcndanl 1s plated in the custod) of.
                  Person or organization
               /\ddrcss 11111'1 1/ "'"" c " " " 01 f,!.U1ti:a111mi
               Cil~ ,m<l state                                                                                               !'cl. No.
11ho agrees to t.i) sup.:n ise the deli:ndant. (hi use c1 er) c!fort to .a,surc th.: ddi:n<lnnt's ,1ppc:irnncc at all court proceeding~. and (c) not ii) thc court imnu:diatd}
if the dcli:ndant I iolntcs u comlillon of release or is no longer 111 the custodian·s custo<l).

                                                                                   Signed:

     )     17) The <lcli:ndant mu~t:
                                                                                    '°
         ( X ) (a) suhm1t to ,upcn 1~io11 b) an,t r,•port for snpcr, 1sio11 1hc Pretrial Office
                    tekphonc numhcr             (901) 495-1550 . no l,ncr than
         ( X > (b) continue or ,1ctil cl~ seek cmplo} me 111.
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               (ti) surrcml.:r ,m~ passport to;
               (.:) not ol'>t,1i11 ,, passport or other 11111:rnallon.11 tr,11cl docunwnt
                                                                                               residence and travel are restricted to the
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                          Western District of Tennessee without the prior approval of Pretrial Services.
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                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE Al>VISFD Of-" THE FOLLOWING PENr\LTIES AND SANCTIONS:

        Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your c1rrest. a
revocation of your release. an order of detention. a forfeiture of any bond. and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
        While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison tenu of not more than one year. This sentence \\ill be
consecuti\'e ff<' .. in addition to) to any other sentence you receive.
        It is a crime punishable by up to ten years in prison. and a $250,000 fine. or both. to: obstruct a criminal investigation:
tamper with a witness. victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant: or intimidate or attempt
to intimidc1tc a witness, victim. juror. informant. or officer of the court. The penalties for tampering, retaliation. or intimidation arc
                                                                                                                                                   I
significanll)' more serious if the)' involve a killing or attempted killing.
        If, after release. you knowingly fail to appear as the conditkms of release require. or to surrender tu serve a sentence.
you ma) be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
        (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more · )OU will be fined
              not more than $250.000 or imprisoned for not more lhan 10 years. or both:
        (2) an offense punishable by imprisonment for a term of five years or more. hut less than fifteen )Cars you will be fined not
              more than $250.000 or imprisoned for not more than five years. or both:
        (1) any other lclony - you will be fined not more than $250,000 or imprisoned not more than t\\ o years, or both:
        H) a misdemeanor- you will be fined not more than $100.000 or imprisoned not more than one year. or both.
        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition. a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I mn the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release. to appear as directed. and surrender to serve any sentence imposed. I am a\\ are of the penalties and sanctions Sl!t forth above.




                                                                            ~7                 ("i/_1   a111l Stale



                                               Directions to the United States Marshal

( ,/ ) The defendant is ORDERED released after processing.
     ) The l '.nikd Stales marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
       has posted bond and.or complied with all other conditions for release. If still in custody. the defendant must be produced before
       the appropriate judge at the time and place specified


Date:            8/26/2020                                                           s/Charmiane G. Claxton
                                                                                       .ltu/,c wl (){/)HI''< 'irgmmrr,·


                                                         CHARMIANE G. CLAXTON, UNITED STATES MAGISTRATE JUDGE




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